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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re:                                                              Chapter 11

Comfort Auto Group NY LLC,                                          Case No.

                                             Debtor.
-----------------------------------------------------------x

          DECLARATION PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

        Tim Ziss declares the following under penalties of perjury pursuant to 28 U.S.C. §1746:

        I am the current Chief Restructuring Officer of Comfort Auto Group NY LLC (the

“Debtor”), having acquired management and membership rights in the Debtor from Heshy

Gottdiener earlier this year.         The transition to new management was done to facilitate a

restructuring of the Debtor’s car dealership business. Based upon my prior agreement with Mr.

Gottdiener in April 2020, I am authorized to file this Chapter 11 case on behalf of the Debtor,

and submit this Declaration in support thereof.

                              Events Leading up to the Chapter 11 Filing

        1.       Before the onset of the Covid-19 pandemic, the Debtor owned and operated an

automobile dealership and showroom at 8825 5th Ave, Brooklyn, NY 11209-5901 (the

“Showroom Premises”), known as Chrysler Dodge Jeep Ram Fiat of Bay Ridge. The Debtor

leases the Showroom Premises from 34 Linden Realty Co., LLC, as landlord, and also maintains

a Service Center at 8635 18th Street, Brooklyn, and a warehouse/yard at 4300 Arthur Kill Road,

Staten Island (the “Staten Island Yard”).

        2.       The dealership is currently closed due to the pandemic, and the goal of the

Chapter 11 case is to resume full-scale service and sale operations while the Company’s overall

finances are restructured.
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       3.      With New York starting to emerge from the Covid-19 restrictions, this is the

opportune time for a re-opening of the dealership, and the Chapter 11 is being filed to facilitate a

smooth transition, even though in recent weeks more than 200 cars were seized by the Debtor’s

secured creditor, as set forth below.

       4.      Like most car dealerships, the Debtor’s business is financed by a secured

wholesale vehicle or floor plan financing (the “Floor Plan Loans”) with General Motors

Corporation’s lending arm, Ally Financial Inc. and Ally Bank (collectively, “Ally”).

       5.      According to information provided to me, the Debtor’s relationship with Ally

began in September 2017, and Ally alleges that the Debtor is indebted for a principal amount of

$17,151,442, plus certain accrued interest and other charges as of May 2020. The Floor Plan

Loans are secured by the Debtor’s operating assets, and subject to certain corporate and

individual guaranties.

       6.      Problems with Ally arose in 2019, when Ally allegedly discovered purported

discrepancies in reporting and liquidity regarding the Debtor and other affiliates. Ally took issue

with Mr. Gottdiener’s management, and litigation ultimately ensued in the state and federal

courts just before the start of the pandemic.

       7.      In fact, Ally commenced an action in the United States District Court for the

Eastern District of New York on March 9, 2020 (20-cv-01281) to enforce the alleged loan

defaults.

       8.      In that action, the Debtor and others asserted various defenses relating to breach

of the convenient of good faith and fair dealing, and counterclaims for tortious interference with

the Debtor’s contracts with its customers.
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       9.      In the meanwhile, Heshy Gottdiener entered into an agreement with the

undersigned providing for the sale of his 100% membership interest in the Debtor following a

180-day due diligence period. It is contemplated that the Debtor will restructure its business

during the due diligence period, and I received authorization to commence a Chapter 11 case as

part of that restructuring effort pursuant to resolution attached hereto as Exhibit “A”.

Additionally, a meeting was recently called on notice to Mr. Gottdiener and his attorney, who, I

am advised, indicated to the Debtor’s attorney that there is no objection to the Chapter 11 filing.

                                         Reorganization Strategy

       10.     Within the last few weeks, Ally exercised self-help, and reclaimed more than 200

vehicles by entering the Staten Island Yard without an order of seizure, notwithstanding the

pending federal action. The Debtor, through proposed bankruptcy counsel, has since entered into

negotiations with Ally and its counsel concerning the scope of its claims and disposition of the

remaining vehicles.    The Debtor hopes to negotiate a discounted payoff on the remaining

vehicles and release of space parts. If an agreement cannot be reached, however, the Debtor

reserves all of its rights, remedies and claims against Ally.

       11.     However, more optimistically, if an agreement can be reached with Ally, the

Debtor hopes to finalize ongoing discussions with a number of potential lenders with DIP

financing. Besides new floor plan financing, my investors and I are willing to lend the Debtor

up to $1.0 million to immediately reopen the Service Center.

       12.     Completion of core DIP financing will provide the Debtor with the ability to re-

open the dealership, resume service and maintenance operations, and re-start the sale of existing

and new inventory.
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        13.     To do so, the Debtor also intends to bring back approximately 55 employees from

furlough to first perform repair operations, and then sales and marketing. A proposed new work

flow schedule and 30-day budget is attached hereto as Exhibit “B”.

        14.     The ultimate goal is to reestablish the dealership by year’s end, based upon

restructured loan, lease and labor agreements.       I believe I am well-positioned to lead the

reorganization effort since I am relatively new to the situation, have access to financing, and

remain separate from Mr. Gottdiener.

                                      Local Rule 1007-2 Disclosures

        15.     Pursuant to Local Rule 1007-2)(a)(2) and (3), no committees were formed prior to

the filing of the petition.

        16.     Pursuant to Local Rule 1007-2)(a)(5), the Debtor’s main secured creditor is Ally,

which alleges a principal debt of approximately $17 million.

        17.     Pursuant to Local Rule 1007-2(a)(6), a summary of the assets and liabilities of the

Debtor will be set forth in the Schedules to be filed within the next fifteen (15) days.

        18.     Pursuant to Local Rule 1007-2)(a)(7), my affiliated company, Signature Lien

Acquisitions III, LLC, has the right to close on the sale of Mr. Gottdiener’s membership

interests.

        19.     Pursuant to Local Rule 1007-2)(a)(8), certain of the Debtor’s assets were

repossessed by Ally as a secured lender.

        20.     Pursuant to Local Rule 1007-2)(a)(9), the Debtor owns no real property, and

leases the Showroom Premises, as well as the service center and warehouse facilities.

        21.     Pursuant to Local Rule 1007-2)(a)(10), the Debtor’s available books and records

are maintained by me as CRO.
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       22.     Pursuant to Local Rule 1007-2)(a)(11), a schedule of pending lawsuits is attached.

       23.     Pursuant to Local Rule 1007-2)(a)(12), I am not receiving compensation from the

Debtor.

       24.     The Debtor hopes to resume operations based upon an anticipated weekly payroll

of approximately $ 12,000. A budget covering the next thirty days will be filed shortly.

Dated: Brooklyn, NY
       July 24, 2020
                                             /s/ Tim Ziss
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COMFORT AUTO GROUP WORK FLOW CHART                          FIRST SIX MONTHS RAMP UP

NEW CAR SALES                    0          0           0            30           30           40
USED CAR SALES                   0         15          15            15           15           15


SERVICE                 $   50,000 $   60,000 $    60,000 $      65,000 $     107,525 $   107,525
PARTS                   $   36,750 $   36,750 $    40,425 $      40,425 $      46,488 $    46,488

SALES STAFF                    0.00       4.00       4.00          4.00          4.00        4.00
SERVICE & PARTS STAFF          6.50       7.00       9.00          9.00         10.00       10.00
ADMIN/OFFICE STAFF             3.50       5.00       5.50          7.00          7.00        7.00

TOTAL FTE                     10.00      16.00      18.50         20.00         21.00       21.00
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    PROFORMA COMFORT AUTO GROUP START UP BUDGET

NEW VEHICLE DEPARTMENT                                                               Month 1
                                      PROJECTED UNIT SALES                                     0
                     PROJECTED AVERAGE GROSS PROFIT (Incl F&I)                   $       2,000

GROSS PROFIT                           Composite             Dealer Election     $             -
Less: Selling Expense                                 9.4%               9%                -
     Super. Comp.                                     9.0%              10%                -
     Adv. Exp.                                        9.7%              10%                -
   Coop credit/delivery allowance
     Flooring Exp.                                    2.0%              33%                -
   Floorplan Allowance                                                                     -
     Other Dept. Exp.                                 6.0%               5%
NET PROFIT                                                                      0

USED VEHICLE DEPARTMENT Average Used Vehicle Cost                                    Month 1
PROJECTED UNIT SALES             $22,000                                                       0
           PROJECTED AVERAGE GROSS PROFIT (Incl F&I)                             $       2,800

GROSS PROFIT                           Composite             Dealer Election     $             -
Less: Selling Exp.                                    8.5%             8.5%                -
     Super. Comp.                                     5.0%            10.0%                -
     Adv. Exp.                                        9.0%            15.0%                -
     Flooring Exp.                                    2.1%             3.0%                -
     Other Dept. Exp.                                 5.0%             8.0%                -
NET PROFIT                                                                       $             -

SERVICE DEPARTMENT                        Gross Margin %                             Month 1
  PROJECTED SALES                                  78.0%                         $      50,000

GROSS PROFIT                           Composite             Dealer Election     $      39,000
Less: Selling Expense                                35.0%              26%             25,208
     Super. Comp.                                     0.0%              16%              6,240
     Other Comp.                                      0.0%              10%              3,900
     Other Dept. Exp.                                 0.0%               3%              1,170
NET PROFIT                                                                       $       2,482
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PARTS DEPARTMENT                             Gross Margin %                                Month 1
  PROJECTED SALES                                    35.0%                             $     105,000

GROSS PROFIT                            Composite              Dealer Election         $      36,750
Less: Selling Expense                                  30.0%              22%                  5,833
     Super. Comp.                                      10.0%              15%                  5,513
     Other Comp.                                        0.0%              10%                  3,675
     Other Dept. Exp.                                   0.0%               2%                    735
NET PROFIT                                                                             $      20,994


TOTAL DEPTARTMENTS NET PROFIT                                                          $      23,476

OTHER SEMI-FIXED EXPENSES                                                              $      20,000

ADMINISTRATIVE EXPENSES                                                                    Month 1
Owner's Comp.                                                                          $             -
Clerical Comp.                                                                                17,042
Other Employee Expenses                                                          35%           5,965
Other Admin. Comp.                                                                             3,033
TOTAL ADMINISTRATIVE EXPENSES                                                          $      26,040

Base Rent SERVICE/PARTS (30 day abatement)                                             $             -
Base Rent Showroom              (90 day abatement)
Other Facility Expenses                                                                        5,000
Other Fixed Overhead Expenses                                                                 10,000
TOTAL FIXED OVERHEAD EXPENSES                                                          $      15,000


NET ADDITIONS/DEDUCTIONS *

NET PROFIT/LOSS                                                                        $     (37,564)


CUMULATIVE PROFIT/LOSS                                                                 $     (37,564)
   *$1,200 new/$1,500 used
                 FTE                                                                         10
